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  8 YETI COOLERS, LLC

  9
                                 UNITED STATES DISTRICT COURT
 10
                               CENTRAL DISTRICT OF CALIFORNIA
 11

 12 YETI COOLERS, LLC, a Delaware                  Case No. 2:18-cv-4846
      limited liability company,
 13                                                COMPLAINT FOR DAMAGES AND
 14                     Plaintiff,                 INJUNCTIVE RELIEF FOR:
 15            v.                                  1. FEDERAL TRADEMARK
 16                                                   INFRINGEMENT AND
      99 CENTS ONLY STORES LLC, a                     COUNTERFEITING;
 17 California limited liability company,          2. FEDERAL UNFAIR
 18                                                   COMPETITION;
                        Defendant.                 3. COMMON LAW PASSING OFF
 19                                                   AND UNFAIR COMPETITION;
 20                                                   AND
                                                   4. CALIFORNIA UNFAIR
 21                                                   COMPETITION
 22                                                DEMAND FOR JURY TRIAL
 23

 24

 25            Plaintiff YETI Coolers, LLC (“YETI” or “Plaintiff”), by and through its
 26 undersigned counsel, for its Complaint against Defendant 99 Cents Only Stores LLC

 27 (“99 Cents Only” or “Defendant”), complains and alleges as follows:

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  1                                         INTRODUCTION
  2            1.       Plaintiff brings this Action to stop Defendant’s unlawful and infringing
  3 conduct in selling counterfeit, non-genuine “YETI” branded products (“Counterfeit

  4 Goods”), the sale of which has caused Plaintiff significant monetary damages and

  5 harm to Plaintiff’s brand and reputation.

  6                                          THE PARTIES
  7            2.       YETI is, and at all times mentioned herein was, a Delaware limited
  8 liability company with its principal place of business at 7601 Southwest Parkway,

  9 Austin, Texas 78735.

 10            3.       Plaintiff is informed and believes, and thereon alleges, that Defendant
 11 99 Cents Only is, and at all times mentioned herein was, a California limited

 12 liability company with its principal place of business at 4000 East Union Pacific

 13 Avenue, City of Commerce, California 90023.

 14            4.       Plaintiff is informed and believes that 99 Cents Only engages in the
 15 discounted retail sales of consumable and general merchandise with an emphasis on

 16 a price point of $0.99 or less, though 99 Cents Only sells many products at a higher

 17 price point.

 18            5.       Plaintiff is informed and believes that 99 Cents Only operates more
 19 than 350 retail stores in California, Texas, Arizona, and Nevada and operates two

 20 distribution centers in California and Texas.

 21                                  JURISDICTION AND VENUE
 22            6.       This Court has original subject matter jurisdiction over this action
 23 pursuant to 28 U.S.C. §§ 1331 and 1338, and 15 U.S.C. § 1121 because this action

 24 arises under the laws of the United States, and because it involves allegations

 25 regarding trademark violations.

 26            7.       This Court has supplemental jurisdiction under 28 U.S.C. §§ 1338(b)
 27 and 1367 for all claims in this Complaint that are based upon state law because

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  1 those claims arise from the same controversy as the claims being made under a

  2 federal statute.

  3            8.       This Court has personal jurisdiction over Defendant because the acts
  4 complained of arise out of and relate to Defendant’s sale of counterfeit YETI

  5 products from within the Central District of California. Further, Defendant sells the

  6 Counterfeit Goods to consumers in the Central District of California. Venue for this

  7 action also properly lies in the Central District of California pursuant to 28 U.S.C. §

  8 1391(b)(1) because Defendant resides in this judicial district.

  9                                  FACTUAL ALLEGATIONS
 10            A.       YETI’S BUSINESS AND MARKS
 11            9.       YETI was founded in 2006 by brothers and outdoorsmen Roy Seiders
 12 and Ryan Seiders, who began the business by designing and building high quality

 13 coolers to meet the needs of their outdoor adventures. YETI became an innovator in

 14 its field, developing technologies and inventing new products, growing to become

 15 one of the United States’ leading manufacturers and developers of outdoor lifestyle

 16 products. YETI is also expanding and investing in new markets worldwide. For

 17 years, YETI has engaged in the development, manufacture, and sale of insulated

 18 products, including stainless steel insulated drinkware.

 19            10.      YETI has invested substantial effort and resources to develop and
 20 promote public recognition of the “YETI”-related marks. YETI has built up

 21 tremendous goodwill and brand reputation among consumers through its significant

 22 investment in advertising, promoting, and delivering products and services of the

 23 highest quality under YETI’s federally-registered trademarks. Defendant’s

 24 infringement and sale of counterfeit goods, as alleged further below, has not only

 25 caused monetary damages to YETI, but also undermines, diminishes, and tarnishes

 26 YETI’s brand, reputation, and goodwill among consumers and members of the

 27 trade.

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  1            11.      YETI has caused several trademarks to be registered on the Principal
  2 Register of the U.S. Patent and Trademark Office in connection with a range of high

  3 quality goods including portable coolers and insulated stainless steel drinkware

  4 products. The registered trademarks include, but are not limited to, the following:

  5
                                        Registration Registration
  6                Trademark                                               Class(es)/Good(s)
                                         Number         Date
  7
         YETI                            3,203,869       Jan. 30, 2007   IC 21- Portable coolers
  8
         YETI COLSTER                    4,833,419       Oct. 13, 2015   IC 21- Stainless steel
  9                                                                      drink holders
 10      YETI RAMBLER                    4,871,725       Dec. 15, 2015 IC 21- Stainless steel
         COLSTER                                                       drink holders
 11
         COLSTER                         4,883,074       Jan. 5, 2016    IC 21- Stainless steel
 12
                                                                         drink holders
 13      RAMBLER                         4,998,897       July 12, 2016   IC 21 - Jugs
 14      RAMBLER                         5,233,441       June 27, 2017   IC 21 - Beverageware;
 15                                                                      cups; drinking glasses;
                                                                         tumblers for use as
 16                                                                      drinking vessels; jugs;
 17                                                                      mugs; temperature-
                                                                         retaining drinking
 18                                                                      vessels; storage
 19                                                                      containers for
                                                                         household or domestic
 20                                                                      use, namely, vacuum
 21                                                                      container for hot or cold
                                                                         food and drink; beer
 22                                                                      growlers; insulated food
 23                                                                      and drink containers;
                                                                         stainless steel tumblers
 24                                                                      for use as drinking
 25                                                                      vessels; stainless steel
                                                                         drinking glasses;
 26                                                                      stainless steel
 27                                                                      beverageware; drinking
                                                                         straws.
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  1 (Collectively, the “YETI Marks”). The YETI Marks were registered to YETI at its

  2 principal place of business at the time of each registration in Austin, Texas.

  3            12.      The YETI Marks have been extensively and continuously used in
  4 interstate commerce to identify and distinguish YETI’s high quality portable

  5 coolers, including the insulated stainless steel Rambler® drinkware series, for an

  6 extended period of time. The Rambler® drinkware series includes products such as

  7 the Rambler® 10 oz. Lowball, the YETI Colster®, the Rambler® 14 oz. Mug, the

  8 Rambler® 20 oz. and 30 oz. Tumblers, the Rambler® 18 oz., 26 oz., 36 oz., and 64

  9 oz. Bottles, and the Rambler® half gallon and one gallon Jugs. YETI has sold

 10 millions of units of Rambler® drinkware products throughout the United States,

 11 including sales to customers in the state of California and in this District. The YETI

 12 Marks have been in use by YETI since long before Defendant’s promotion and sale

 13 of counterfeit products bearing the YETI Marks.

 14            13.      The YETI Marks are symbols of the YETI products’ origin, quality,
 15 reputation, and goodwill and have never been abandoned.

 16            14.      YETI has expended substantial time, money, and other resources
 17 developing, advertising, and otherwise promoting the YETI Marks over the past 12

 18 years such that the relevant consumers exclusively associate the YETI Marks with

 19 YETI.

 20            15.      YETI has extensively used, advertised, and promoted the YETI Marks
 21 in the United States in association with the sale of its high quality products,

 22 including its Rambler® drinkware products. YETI has spent millions of dollars

 23 promoting the YETI Marks and products bearing the YETI Marks in magazines,

 24 newspapers, billboards, television ads, on the Internet (including pre-roll, social

 25 media, banner ads, page takeovers and the official YETI website, www.yeti.com),

 26 and at sponsorship of tradeshows and outdoor sporting events.

 27            16.      As a result of YETI’s efforts, members of the consuming public readily
 28 identify merchandise bearing the YETI Marks as being high quality merchandise

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  1 manufactured and sold by YETI. Specifically, the design and features of the

  2 Rambler® drinkware products have received widespread and unsolicited public

  3 attention, and have been featured positively in numerous newspaper, magazine and

  4 Internet articles.

  5            17.      The YETI Marks are inherently distinctive and have attained secondary
  6 meaning as an identifier of high quality insulated cooler and drinkware products.

  7            18.      YETI has carefully monitored and policed the use of the YETI Marks
  8 and the YETI Marks have never been assigned or licensed to the Defendant in this

  9 matter.

 10            19.      YETI also owns several copyrights related to its Rambler® drinkware
 11 products. YETI recently filed copyright applications for the exterior product wrap

 12 for its Rambler® 18 oz. and 64 oz. Bottles. A copy of the “YETI RAMBLER 18

 13 oz. Bottle Label” and the “YETI RAMBLER 64 oz. Bottle Label” submitted to the

 14 U.S. Copyright Office in December 2017 are shown below in Illustration 1 and 2.1

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 26  YETI is in the process of formally registering the copyrighted Bottle Labels
    infringed by Defendant and will amend the Complaint further to add a claim for
 27 copyright infringement once that occurs.

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  1 Illustration 1: YETI RAMBLER 18 oz. Bottle Label Submitted to Copyright Office

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 15 Illustration 2: YETI RAMBLER 64 oz. Bottle Label Submitted to Copyright Office

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 25            20.      YETI is informed and believes, and thereon alleges, that at all times
 26 relevant to this action Defendant had full and actual knowledge of YETI’s

 27 ownership of the YETI Marks, including YETI’s exclusive right to use and license

 28 such intellectual property and the goodwill associated with the YETI Marks, in

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  1 addition to the constructive knowledge that Defendant had arising from YETI’s

  2 federal trademark registrations for the YETI Marks. Defendant has further been on

  3 express notice of YETI’s rights since May 1, 2018, when it received a cease-and-

  4 desist letter from YETI’s counsel.

  5            21.      Counterfeit YETI products harm YETI’s reputation for quality because
  6 these inferior products do not conform with YETI’s design, specifications,

  7 production standards or quality control. Counterfeit products that bear markings

  8 similar to, or substantially indistinguishable from, the YETI Marks provide

  9 customers with a false assurance that the products they have purchased are

 10 authorized by Plaintiff and reliably conform with YETI’s high standards.

 11            B.       99 CENTS ONLY’S INFRINGING ACTIVITIES
 12            22.      Plaintiff is informed and believes, and thereon alleges, that Defendant
 13 imported, offered for sale, sold and/or distributed goods, including stainless steel

 14 drinkware, that bore markings confusingly similar, if not identical, to the YETI

 15 Marks. Specifically, upon information and belief, Defendant is using the YETI

 16 Marks for inferior goods which are not authorized by Plaintiff. YETI has used the

 17 YETI Marks extensively and continuously before Defendant began offering

 18 counterfeit and confusingly similar imitations of YETI’s merchandise.

 19            23.      Sale of Counterfeit YETI Products: In April 2018, YETI learned that
 20 99 Cents Only was offering YETI-branded 18 oz. and 64 oz. bottles for sale in its

 21 retail stores in California, and in other states. 99 Cents Only offered the 18 oz.

 22 bottle for $5.99 and the 64 oz. bottle for $9.99. YETI sells the 18 oz. bottle and 64

 23 oz. bottle for $29.99 and $49.99, respectively, significantly more than 99 Cents

 24 Only was charging for the products. YETI reasonably suspected that the products

 25 offered by Defendant were counterfeit.

 26            24.      On about April 29, 2018, YETI arranged for the purchase of an 18 oz.
 27 YETI branded bottle from the 99 Cent Only retail store located at 6639 Laurel

 28 Canyon Boulevard, North Hollywood, California, 91606.

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  1            25.      YETI inspected the product purchased from Defendant’s retail location,
  2 and determined that the YETI branded 18 oz. bottle was counterfeit and infringing

  3 upon the YETI Marks. The 18 oz. bottle sold by 99 Cents Store was not

  4 manufactured by YETI, nor under its authority. The product bears the “YETI” word

  5 mark (U.S. Reg. No. 3,203,869), and the “RAMBLER” word mark (U.S. Reg. No.

  6 5,233,441). The use of these registered trademarks is without YETI’s permission or

  7 authority.

  8            26.      On about April 29, 2018, YETI arranged for the purchase of an 18 oz.
  9 YETI branded bottle from the 99 Cents Only retail store located at 6755 Van Nuys

 10 Boulevard, Van Nuys, California 91405.

 11            27.      YETI inspected the product, and determined that the YETI branded
 12 18 oz. bottle was counterfeit and infringing upon the YETI Registered Marks. The

 13 18 oz. bottle sold by 99 Cents Only was not manufactured by YETI, nor under its

 14 authority. The product bears the “YETI” word mark (U.S. Reg. No. 3,203,869), and

 15 the “RAMBLER” word mark (U.S. Reg. No. 5,233,441). The use of these marks

 16 was without YETI’s permission or authority.

 17            28.      Exemplary images of the infringing bottle products and exemplary
 18 images of YETI’s legitimate bottle products are show below in Illustrations 3 and 4:

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   1      Illustration 3: Exemplary Images of 99 Illustration 4: Exemplary Images of
   2      Cents Only’s Infringing (Counterfeit) authentic YETI® 18 oz. Rambler®
          18 oz. Bottle                          Bottle
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  21            C.       CONSUMER CONFUSION CAUSED BY 99 CENTS ONLY
  22            29.      Upon information and belief, Defendant’s Counterfeit Goods are of a
  23 quality substantially and materially inferior to that of YETI’s genuine goods.

  24 Defendant, upon information and belief, is actively using, promoting and otherwise

  25 advertising, distributing, selling and/or offering for sale substantial quantities of

  26 Counterfeit Goods with the knowledge and intent that such goods will be mistaken

  27 for the genuine high quality goods offered for sale by YETI, despite Defendant’s

  28 knowledge that it does not have authority to use the YETI Marks. As a result of 99

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   1 Cents Only’s activities related to the Counterfeit Goods, there is a likelihood of

   2 confusion between 99 Cents Only and its Counterfeit Goods on the one hand, and

   3 YETI and its genuine products on the other hand.

   4            30.      99 Cents Only advertised its Counterfeit Goods for sale to the
   5 consuming public, including at minimum via Defendant’s own website,

   6 www.99only.com, and on various social media sites including Instagram, Twitter

   7 and Facebook. In so advertising these goods, Defendant improperly and unlawfully

   8 used one or more of the YETI Marks in association with the Counterfeit Goods

   9 without YETI’s permission. An example is 99 Cents Only’s April 20, 2018 post on

  10 its official Twitter page (@99only), stating (falsely) that the product is authentic,

  11 “This is real. Pinky swear!” is shown below in Illustration 5. The same post also

  12 appeared on 99 Cents Only’s Instagram page and its own website.

  13 Illustration 5: April 20, 2018 Twitter post by @99only

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  26            31.      YETI is informed and believes, and thereon alleges, that Defendant
  27 sought to increase its sales by intentionally and willfully causing consumers to

  28 believe that the YETI products it offered for sale were somehow associated with,

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   1 affiliated with, or authorized by, YETI, when they are not and when the products

   2 themselves are counterfeit.

   3            32.      Not only are consumers likely to be confused by Defendant’s use of the
   4 YETI Marks, images, and false advertising, but they have actually been confused.

   5 Even without the benefit yet of discovery, YETI has found evidence of actual

   6 consumer confusion and brand/reputational harm to YETI from consumers who

   7 have recently complained about the products sold by Defendant.

   8            33.      The harm to YETI’s brand and goodwill caused by Defendant’s
   9 conduct is ongoing, as the negative reviews continue to mount, and confirm the

  10 confusion and disappointment caused to consumers due to the inferior quality of the

  11 Counterfeit Goods sold by Defendant. The following reviews were posted on 99

  12 Cents Only’s Instagram site alongside a photograph of counterfeit YETI-branded 18

  13 oz. bottles:

  14                     a.    One customer “subiwooo” wrote: “I think these are counterfeit.
  15 Bought 6 thinking I scored, but then compared it to the real thing at home. One

  16 giveaway of it being fake is a misspelling on packaging (reverse side of outside

  17 label). “5 yeats” instead of “5 years” lol. Lid plastic also looks crappier.”

  18                     b.    That same customer further commented: “@yeti are these
  19 authentic or counterfeit? The model# from @99centsonly says 1816282302 instead

  20 of 1916282302 on the bottom.”

  21                     c.    Another customer “chiquita_banana” commented: “@subiwoo or
  22 maybe they’re selling them because they made thousands with a typo. like when

  23 they sell irregulars.”

  24                     d.    One customer “mrs.marilyngries” wrote: “@subiwooo Maybe it
  25 was just a mess up in their production ...lots of companies will wholesale things like

  26 that with slight defects.”

  27            34.      Accordingly, Defendant’s use of the YETI Marks is not only likely to
  28 cause consumer confusion, it has caused actual confusion or mistake, and deceived

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   1 consumers into believing there is an affiliation, connection, or association between

   2 YETI and Defendant, and has confused members of the public as to the origin,

   3 sponsorship, authorization, and/or approval by YETI of Defendant’s “YETI”

   4 branded product sales. YETI expects discovery to reveal further evidence of such

   5 actual confusion. In addition to monetary damages to Plaintiff, Defendant’s

   6 unlawful actions have caused irreparable harm to Plaintiff’s brand and reputation, as

   7 to which there is no adequate remedy at law.

   8            35.      Prior to this lawsuit, YETI sent Defendant a May 1, 2018 cease and
   9 desist letter and requested, inter alia, that Defendant consolidate all of the

  10 counterfeit YETI bottles to one centralized location and allow YETI to inspect its

  11 remaining inventory to ensure that Defendant does not sell any more Counterfeit

  12 Goods. Defendant rejected this request and to date has refused to provide YETI any

  13 further information regarding the Counterfeit Goods.

  14                             PLAINTIFF’S CLAIMS FOR RELIEF
  15                                  FIRST CLAIM FOR RELIEF
  16         Federal Trademark Counterfeiting and Infringement; 15 U.S.C. § 1114
  17            36.      YETI incorporates the preceding paragraphs of this Complaint as if
  18 fully set forth herein.

  19            37.      The YETI Marks are valid, protectable trademarks that have been
  20 registered as marks on the principal register in the United States Patent and

  21 Trademark Office.

  22            38.      As described in more detail above, Defendant has used and sold
  23 counterfeit goods bearing the YETI Marks in connection with the marketing,

  24 promotion, and sale of their goods and services without YETI’s consent, in a

  25 manner that is likely to cause, and has actually caused, confusion and/or mistake, or

  26 that has deceived members of the consuming public and/or the trade. Defendant’s

  27 promotion and sale of counterfeit goods, and infringing activities, are likely to cause

  28 and are actually causing confusion, mistake, and deception among members of the

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   1 trade and the general consuming public as to the origin, sponsorship, and quality of

   2 Defendant’s infringing products, counterfeit packaging, and other related

   3 commercial activities.

   4            39.      Defendant’s infringement of the YETI Marks is willful, as evidenced
   5 by the price point by which Defendant is offering the Counterfeit Goods.

   6            40.      YETI has been, and continues to be, damaged by Defendant’s
   7 infringement, including by suffering irreparable harm through the diminution of

   8 trust and goodwill among YETI consumers and members of the general consuming

   9 public and the trade.

  10            41.      As a result of Defendant’s infringement of the YETI Marks, YETI is
  11 entitled to an injunction, as set forth below, and an Order of destruction of all of

  12 Defendant’s infringing and counterfeit materials under Defendant’s possession,

  13 custody and/or control.

  14            42.      YETI is also entitled to all monetary relief and other remedies available
  15 under the Lanham Act, including but not limited to treble damages and/or actual

  16 profits, reasonable attorneys’ fees, costs, and prejudgment interest, and/or statutory

  17 damages.

  18                                 SECOND CLAIM FOR RELIEF
  19                          Federal Unfair Competition; 15 U.S.C. § 1125
  20            43.      YETI incorporates the preceding paragraphs of this Complaint as if
  21 fully set forth herein.

  22            44.      The YETI Marks are valid, protectable trademarks that have been
  23 registered as marks on the principal register in the United States Patent and

  24 Trademark Office.

  25            45.      YETI is the owner and registrant of the YETI Marks.
  26            46.      YETI operates under and uses the YETI Marks in connection with its
  27 products.

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   1            47.      Defendant has made commercial use of and sold counterfeit products
   2 bearing the YETI Marks and YETI’s trade name, without authorization from YETI.

   3            48.      Defendant’s counterfeiting and infringing activities, and related false
   4 descriptions and representations as to the origin and quality of their product sales,

   5 are likely to cause, and are actually causing, confusion, mistake, and/or deception

   6 among members of the consuming public and members of the trade. These

   7 members of the consuming public and members of the trade have been, and will

   8 continue to be, misled into believing that there is an affiliation, connection, or

   9 association between Plaintiff and Defendant, and/or have been, or will be, misled as

  10 to the origin, sponsorship, or approval of Defendant’s inferior non-genuine YETI-

  11 branded drinkware products.

  12            49.      YETI has not consented to Defendant’s use of the YETI Marks or
  13 YETI trade name.

  14            50.      Defendant’s unauthorized use of the YETI Marks and YETI trade name
  15 is willful and has caused damage to YETI, causing this matter to be an exceptional

  16 case under 15 USC § 1117(a).

  17            51.      Defendant’s acts constitute false statements in connection with
  18 products and/or services distributed in interstate commerce, in violation of Section

  19 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

  20            52.      As evidenced by the actual confusion to date, Defendant’s acts have
  21 caused and are continuing to cause irreparable injury to Plaintiff’s brand, goodwill,

  22 and reputation.

  23            53.      Plaintiff is entitled to monetary relief and all other remedies available
  24 under the Lanham Act, including but not limited to treble damages and/or actual

  25 profits, reasonable attorneys’ fees, costs and prejudgment interest, and/or statutory

  26 damages.

  27            54.      An award of monetary damages alone cannot fully compensate Plaintiff
  28 for its injuries and Plaintiff lacks an adequate remedy at law.

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   1                                  THIRD CLAIM FOR RELIEF
   2                       Common Law Passing Off and Unfair Competition
   3            55.      YETI incorporates the preceding paragraphs of this Complaint as if
   4 fully set forth herein.

   5            56.      The unauthorized use of the YETI Marks by Defendant constitutes
   6 passing off and unfair competition of the YETI Marks in violation of the common

   7 law of California, resulting in monetary loss to YETI (including but not limited to

   8 YETI’s lost profits).

   9            57.      Such wrongful acts have caused and will continue to cause Plaintiff
  10 damages and irreparable harm. Plaintiff has no adequate remedy at law.

  11            58.      Plaintiff is entitled to a judgment enjoining and restraining Defendant
  12 from engaging in further acts of infringement and unfair competition.

  13                                FOURTH CLAIM FOR RELIEF
  14           California Unfair Competition; Cal. Bus. Prof. Code §§ 17200, et seq.
  15            59.      YETI incorporates the preceding paragraphs of this Complaint as if
  16 fully set forth herein.

  17            60.      Defendant has engaged in unlawful and unfair business acts or
  18 practices, as defined by Cal. Bus. Prof. Code §§ 17200, et seq., by committing the

  19 illegal acts and practices as alleged herein, all in an effort to gain an unfair

  20 competitive advantage over YETI.

  21            61.      Defendant’s misconduct is unlawful because, as described herein, its
  22 misconduct constitutes violations of numerous state and federal statutes, including

  23 but not limited to Cal. Civ. Code Section 1797.81, state false advertising laws such

  24 as Cal. Bus. Prof. Code § 17500, as well as the Lanham Act, 15 U.S.C. §§ 1114 and

  25 1125. Further, its misconduct is unfair in that Defendant’s actions, as described

  26 herein, significantly threaten and/or harm competition by selling inferior counterfeit

  27 insulated drinkware products to undercut the legal market for genuine and

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   1 authorized YETI drinkware products, all while harming YETI’s reputation in the

   2 marketplace.

   3            62.      These unlawful and unfair business acts and/or practices were
   4 committed pursuant to Defendant’s business marketing, promotional, and sales

   5 efforts in relation to the YETI Marks.

   6            63.      As a direct and proximate result of Defendant’s unlawful and unfair
   7 business practices, Plaintiff lost money and property, and suffered irreparable injury

   8 to the YETI brand, business reputation, and goodwill. As such, Plaintiff’s remedy at

   9 law is not adequate to compensate for the injuries inflicted by Defendant.

  10 Accordingly, Plaintiff is entitled to temporary, preliminary, and permanent

  11 injunctive relief against Defendant, in addition to restitution in an amount to be

  12 proven at trial.

  13                                     PRAYER FOR RELIEF
  14            WHEREFORE, Plaintiff respectfully prays that the Court enter judgment as
  15 follows:

  16            1.       That Defendant infringed the YETI Marks, engaged in trademark
  17 infringement and counterfeiting, and engaged in unfair competition through its use,

  18 promotion and sale of counterfeit goods bearing the YETI Marks;

  19            2.       That Defendant’s trademark infringement, counterfeiting, and unfair
  20 competition were knowing and willful and committed with bad faith and intent to

  21 deceive and that this case is exceptional under 15 U.S.C. § 1117(a);

  22            3.       That the Court enter an Order enjoining and restraining Defendant and
  23 all persons or entities acting as agents of or in concert with Defendant, during the

  24 pendency of this action and thereafter perpetually, from infringing or counterfeiting,

  25 the YETI Marks in any way, including but not limited to the sale of counterfeit

  26 “YETI” branded products in Defendant’s inventory;

  27            4.       That the Court enter an Order impounding and delivering to YETI for
  28 ultimate destruction any infringing and/or counterfeit “YETI” branded products,

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   1 packaging, accessories, or other collateral in Defendant’s possession, custody, or

   2 control;

   3            5.       That the Court enter an Order directing Defendant to send a Plaintiff-
   4 approved notice to any customer who purchased any infringing or counterfeit

   5 “YETI” branded product from Defendant, informing the customer that the sale of

   6 the product violated Federal trademark and counterfeiting laws, and that Defendant

   7 will refund the money paid by the consumer immediately upon request and return of

   8 the product, with any such product returns going directly to Plaintiff or their counsel

   9 for ultimate destruction at Defendant’s expense;

  10            6.       That the Court enter an Order requiring Defendant to account to and
  11 pay Plaintiff for all profits and damages resulting from Defendant’s infringement,

  12 counterfeiting activities and unfair competition;

  13            7.       That Plaintiff be awarded statutory damages to the fullest extent
  14 available under the law, including but not limited to pursuant to Section 15 U.S.C. §

  15 1117(c);

  16            8.       That Plaintiff be awarded prejudgment interest;
  17            9.       That Plaintiff be awarded reasonable attorneys’ fees to the fullest extent
  18 available under the law;

  19            10.      That Plaintiff be awarded treble damages to the fullest extent available
  20 under the law, including but not limited to pursuant to Section 15 U.S.C. § 1117(b);

  21            11.      That Plaintiff be awarded full restitution;
  22            12.      That Plaintiff be awarded costs of prosecuting this claim;
  23            13.      That Plaintiff be awarded further injunctive and provisional remedies,
  24 as appropriate; and

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   1            14.      That Plaintiff be granted such further relief as the Court deems just and
   2 proper.

   3            15.
   4 DATED: May 31, 2018                        Respectfully submitted,
   5
                                                SIDEMAN & BANCROFT LLP
   6

   7                                            By:         /s/ Ian K. Boyd
   8                                                  Ian K. Boyd
                                                      Attorneys for Plaintiff
   9
                                                      YETI COOLERS, LLC
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   1                                    JURY DEMAND
   2            Plaintiff YETI COOLERS, LLC hereby demands a trial by a jury on all
   3 issues herein so triable.

   4 DATED: May 31, 2018                   SIDEMAN & BANCROFT LLP
   5

   6                                       By:         /s/ Ian K. Boyd
   7                                             Ian K. Boyd
                                                 Attorneys for Plaintiff
   8                                             YETI COOLERS, LLC
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